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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


                                      )
 ENZOLYTICS, INC.,                        : C.A. NO. 1:21-CV-01599-RGA
                                          :
                    Plaintiff,            :
                                          :
       v.                                 :
                                          :
 CIMARRON CAPITAL, LTD.                   :
                                          :
                    Defendant.            :

                                      )
 ENZOLYTICS, INC.,                        : C.A. NO. 1:21-CV-01600-RGA
                                          :
                    Plaintiff,            :
                                          :
       v.                                 :
                                          :
 KONA CONCEPTS, INC.                      :
                                          :
                    Defendant.            :

                OPPOSITION OF ENZOLYTICS, INC. TO
            DEFENDANTS’ MOTION FOR EXTENSION OF TIME

      Plaintiff, Enzolytics, Inc., submits this opposition to Defendants’ motion for

an extension of time to retain Delaware counsel.

      1.    As noted by Defendants in their motion, on November 8, 2023,

Defendants, Cimarron Capital, Ltd. and Kona Concepts, Inc., were ordered to retain

new Delaware counsel on or before December 8, 2023.


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      2.     That order arose out of the withdrawal of Defendants’ prior Delaware

counsel, whose motion to withdraw was filed on October 10, 2023. (Dkt. 74).

      3.     At the November 8, 2023 hearing, undersigned counsel for Enzolytics,

Inc. expressed the need for this case to progress without further delay. In response to

that concern, the Court advised the parties that if Defendants did not engage

Delaware counsel by December 8, 2023 (within 30 days of the hearing) that

Enzolytics, Inc. would be permitted to file for default judgment.

      4.     As of the date of this filing, Defendants have still not engaged

Delaware counsel, despite over two months having elapsed since their prior

Delaware counsel’s filing of its motion to withdraw.

      5.     Defendants now seek an extension of the deadline set by the Court,

which has passed, but their motion offers no explanation for the delay, only stating

the obvious fact that they have not been able to retain Delaware counsel.

      6.     Defendants are seeking relief from a Court order – but offer no reason

or basis for the Court to extend the deadline, which was expressly set in order to

ensure that this case is not delayed any more than it already has been.

      7.     At this point, the Court’s deadline has expired and Plaintiff wishes to

move forward with a motion for default judgment.

      WHEREFORE, Enzolytics, Inc. respectfully requests that the Court deny

Defendants’ motion for an extension of time to retain Delaware counsel.
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                             Respectfully Submitted,



                            ________________________
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